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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

     JOHN DOE,                                            §
                                                          §
               Plaintiff,                                 §
                                                              Civil Action No. 6:22-cv-1155
                                                          §
     v.                                                   §
                                                          §
     BAYLOR UNIVERSITY,                                   §
                                                          §
               Defendant.                                 §

                                 COMPLAINT AND JURY DEMAND

          Plaintiff John Doe1 (hereinafter referred to as “Plaintiff” or “John Doe”), by his attorneys

Nesenoff & Miltenberg, LLP, and Borsellino, P.C., as and for his complaint against Defendant

Baylor University (“Baylor” or the “University”) respectfully alleges as follows:

                                  THE NATURE OF THE ACTION

          1.        This action arises out of the intentional, discriminatory, and biased actions

occasioned by Baylor throughout the University’s Title IX sexual misconduct investigation, which

resulted in Plaintiff’s wrongful and erroneous expulsion from the University.

          2.        Baylor engaged in a sloppy and flawed investigation and adjudication that was

plagued with procedural flaws and inconsistent evidence, resulting in an erroneous finding of

responsibility.

          3.        On information and belief, Baylor undertook the investigation having already

perceived Plaintiff responsible in the University’s attempt to prove that it aggressively pursues

sexual misconduct complaints made against males in order to appease upset students and to avoid

recission of federal funding.


1
    Plaintiff has filed a motion herewith to proceed by pseudonym.


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          4.     Despite the fact that fellow student Jane Roe2 actively planned for days via

messages to have a sexual encounter with Plaintiff, Roe later brought forth a complaint against

Plaintiff for sexual assault, although declined to have the matter investigated.

          5.     It was not until nearly one year later that Roe requested that the matter be formally

investigated.

          6.     Throughout the investigation, Roe contradicted her allegations with her own

statements, demonstrating the falsity of her complaint.

          7.     Nevertheless, the University accepted Roe’s statements at face value and without

corroborating evidence.

          8.     Notwithstanding the utter lack of evidence to find Plaintiff responsible, Plaintiff

was painted guilty as a male accused and Roe was presumed truthful and credible as the female

complainant.

          9.     As a result of the University’s biased and flawed procedures, Plaintiff was found

responsible for sexual assault, and was sanctioned to expulsion from the University, completely

derailing his future educational and career prospects.

          10.    By employing a gender-based presumption of Plaintiff’s guilt, and by imposing an

unreasonable sanction, Defendant displayed anti-male discriminatory bias in violation of Title IX

of the Education Amendments of 1972.

          11.    By violating its own policies and depriving Plaintiff of a fair and impartial

disciplinary process, Defendant breached express and implied agreements with Plaintiff and acted

in bad faith in failing to fulfill its promises to him as an enrolled student paying tuition at Baylor.

          12.    Accordingly, Plaintiff brings this action to obtain monetary and injunctive relief.



2
    Jane Roe is a pseudonym.


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                                          THE PARTIES

        13.      Plaintiff is a natural person and a resident of Texas. During the events described

herein, Plaintiff was enrolled as a fulltime, tuition-paying, undergraduate student at Baylor.

        14.      Defendant Baylor is a partially federally funded private university located in Waco,

Texas, where it maintains its principal offices and place of business.

                                  JURISDICTION AND VENUE

        15.      This Court has federal question and supplemental jurisdiction pursuant to 28 U.S.C.

§ 1331 and 28 U.S.C. § 1367 because: (i) the federal law claims arise under the constitution and

statutes of the United States; and (ii) the state law claims are so closely related to the federal law

claims as to form the same case controversy under Article III of the United States Constitution.

        16.      This Court has personal jurisdiction over Defendant Baylor on the ground that it is

conducting business within the State of Texas.

        17.      Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because a substantial part of the events or omissions giving rise to the claim occurred in this

judicial district.

                     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

I.      BACKGROUND

        A.       The April 2011 “Dear Colleague Letter”: The Office for Civil Rights Places
                 Pressure on Universities to Aggressively Pursue Sexual Misconduct
                 Complaints.

        18.      On April 4, 2011, the Department of Education’s Office for Civil Rights (“OCR”)

issued a guidance letter to colleges and universities in receipt of federal funding, which became

widely known as the “April 2011 Dear Colleague Letter” (the “DCL”).

        19.      The DCL advised recipients that sexual violence constitutes sexual harassment




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within the meaning of Title IX of the Education Amendments of 1972 and its regulations, and the

DCL directed schools to “take immediate action to eliminate the harassment, prevent its recurrence

and address its effects.” DCL at 4.

          20.   The OCR, through the DCL, minimized due process protections for the accused by,

among other things, mandating the adoption of a relatively low burden of proof—“more likely

than not”— in cases involving sexual misconduct, expressly prohibiting colleges from applying a

higher standard of proof. (DCL at 10-11).

          21.   Despite its purported purpose as a mere guidance letter, the Department of

Education treated the DCL as a binding regulation and pressured colleges and universities to

aggressively pursue investigations of sexual assault on campus.

          22.   On April 29, 2014, OCR issued additional directives to colleges and universities in

the form of a guidance document titled Questions and Answers on Title IX and Sexual Violence

(“OCR’s April 2014 Q&A”) which was aimed at addressing campus sexual misconduct policies

and advised schools to adopt a trauma informed approach, advising, for example, that hearings

should be “conducted in a manner that does not inflict additional trauma on the complainant.”

https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf OCR’s April 2014 at 31.

          23.   In addition, OCR’s April 2014 Q&A continued OCR’s quest to hamper students’

ability to defend themselves by reducing or eliminating the ability to expose credibility flaws in

the allegations made against them. Id. at 25-31.

          24.   In the same month that the OCR issued its April, 2014 Q&A on Title IX, the White

House issued a report titled Not Alone, which included a warning that if the OCR finds a school in

violation of Title IX, the “school risks losing federal funds.” See White House Task Force to

Protect     Students   from   Sexual    Assault,       Not   Alone   (Apr.   2014),   available   at




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https://obamawhitehouse.archives.gov/sites/default/files/docs/report_0.pdf.    The report further

advised that the Department of Justice (“DOJ”) shared authority with OCR for enforcing Title IX,

and could therefore initiate investigation, compliance review, and/or litigation against schools

suspected of violating Title IX.

       25.       To support its enforcement of the DCL, the OCR hired hundreds of additional

investigators. To date, OCR has conducted over five hundred investigations of colleges for the

potential mishandling of complaints of sexual misconduct. See Title IX: Tracking Sexual Assault

Investigations, Chronicle of Higher Education, https://projects.chronicle.com/titleix/ (last visited

June 7, 2020).

       26.       Colleges and universities, including Baylor, were fearful of and concerned about

being investigated or sanctioned by the DOE and/or of potential Title IX lawsuits by the DOJ. In

response to pressure from OCR and DOJ, educational institutions, like Baylor, have limited

procedural protections afforded to males, like the Plaintiff, in sexual misconduct cases.

       B.        The 2017 Revocation of the DCL.

       27.       On September 22, 2017, the OCR formally rescinded the DCL and the April, 2014

Q&A, and put in place interim guidance (the “2017 Q&A”), while the current administration

reviewed and revised its practices regarding the adjudication of complaints of sexual misconduct

on college campuses. See Dep’t of Ed., Dear Colleague Letter (Sept. 22, 2017),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf; see also Dep’t of

Ed.,         Q&A        on         Campus      Sexual        Misconduct         (Sept.       2017),

https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

       28.       In rescinding the 2011 DCL, the OCR noted that it had placed “improper pressure

upon universities to adopt procedures that do not afford fundamental fairness,” and “lack the most




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basic elements of fairness and due process, are overwhelmingly stacked against the accused, and

are in no way required by Title IX law or regulation.” Dep’t of Ed., Dear Colleague Letter (Sept.

22,    2017),     https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf.

(citations omitted) (emphasis added).

       29.      The 2017 Q&A suggests that the policies and procedures in place at Baylor at all

times relevant to this lawsuit—which were tailored in such a way as to comply with the DCL under

the threat of loss of federal funding—were unfair and, ultimately, contrary to the goal of gender

equality in Title IX proceedings.

       30.      On information and belief, despite the sweeping changes caused by the rescission

of the 2011 DCL and the implementation of the 2017 Q&A, Baylor did not change its Title IX

procedures.

       C.       The 2020 Title IX Final Rule

       31.      On May 6, 2020, the Department of Education released new Title IX regulations,

which amended the Code of Federal Regulations for Nondiscrimination on the Basis of Sex in

Education for Programs or Activities Receiving Federal Financial Assistance (the “2020 Title IX

Final Rule”) which carry the force and effect of law as of August 14, 2020. (“US Department of

Education         Releases          Final    Title       IX        Rule,”       available        at

https://www2.ed.gov/about/offices/list/ocr/newsroom.html).

       32.      The 2020 Title IX Final Rule replaced all previously issued OCR guidance,

including the rescinded 2001 Title IX Revised Sexual Harassment Guidance.

       33.      The 2020 Title IX Final Rule provides respondents with procedural rights which

the Plaintiff was deprived of during his own disciplinary proceeding, including the right to a live

hearing with cross-examination of all witnesses. (See “Summary of Major Provisions of the




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Department         of     Education’s       Title       IX    Final      Rule,”      available      at

https://www2.ed.gov/about/offices/list/ocr/docs/titleix-summary.pdf).

       34.       In light of the 2020 Title IX Final Rule, Baylor updated its Title IX Policy as of

August 2020.

       D.        Baylor’s History of Mishandling Title IX Claims

       35.       Between 2012 to 2016, Baylor failed to properly investigate allegations of sexual

assault made by female students against male members of its NCAA Division I football team.

       36.       Baylor faced widespread criticism for its mishandling of these allegations.

       37.       The OCR opened an investigation related to Baylor’s mishandling of these

allegations on October 18, 2016.

       38.       In 2015, responding to the public revelation that it had routinely mishandled sexual

misconduct cases, Baylor hired Pepper Hamilton to conduct an internal investigation of its Title

IX procedures.

       39.       In 2016, Pepper Hamilton issued a report that found that Baylor failed to effectively

implement Title IX.

       40.       The Pepper Hamilton report included more than 100 recommendations to address

Baylor's Title IX deficiencies.

       41.       One of Pepper Hamilton’s recommendations was for Baylor to provide more

support for victims of sexual assault.

       42.       In 2016, Baylor issued the “Baylor University Board of Regents Findings of Fact,"

which acknowledged Pepper Hamilton's recommendations and stated, “The University has taken

and will take additional steps to address the deficiencies noted in the findings of fact.”

       43.       Since 2016, Baylor was sued at least 11 times by alleged female victims of sexual




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assault for its failure to properly investigate their claims.

        E.      Baylor Responds to Public Shaming and Pressure By Instituting A Culture of
                Anti-Male Bias

        44.     In an April 10, 2013 article in the Baylor Lariat titled “Alumna to speak on sexual

assault, hope to open eyes,” Baylor associate professor of religion Dr. Jonathan Tran noted,

“Usually with sexual assault the emphasis is put on women and how they can protect themselves,

putting all the responsibility on them. . . .Whereas the emphasis should be put on men learning

respect.”

        45.     In a September 6, 2013 article in the Baylor Lariat titled “Baylor implements new

sexual assault prevention campaign,” Dr. Cheryl Wooten, staff psychologist at the Baylor

Counseling Center stated, “Assaults tend to happen on campuses where there are stereotypical

gender roles. . . .If [assaults] are strictly defined where men have more power in relationships,

there will be an increase in number of sexual assaults.”

        46.     Dr. Wooten further noted, “I think as a community if we all agree to be watching,

could we catch some of these guys? I think so.”

        47.     On April 23, 2015, Baylor’s Office of Community Engagement & Service and the

Title IX Office held a discussion on sexual assault prevention for all males on campus.

        48.     The purpose of the April 23, 2015, discussion led by Ian McRary, Baylor’s Title

IX officer from February 2015 to January 2016, was to educate Baylor’s male student population

on how to prevent sexual assault.

        49.     “It’s On Us” was launched by the White House Task Force to Prevent Sexual

Assault in September 2014 to combat sexual assault on college campuses by engaging young men

and changing campus culture.

        50.     “It’s On Us at Baylor” is a student-run group dedicated to fighting sexual violence



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at Baylor.

       51.     Baylor endorses the activities of “It’s On Us” and “It’s On Us at Baylor.”

       52.     In April 2016, Baylor sponsored the “It’s On Us Pledge Drive.”

       53.     The description of the It’s On Us Pledge Drive stated, in part, “Students, faculty

and staff are encouraged to take the It’s On Us pledge.”

       54.     Baylor also permits “It’s On Us” and “It’s On Us at Baylor” to place posters on its

campus.

       55.     The “It's On Us” and “It’s On Us at Baylor” posters displayed in Baylor's bathrooms

exclusively portray men as perpetrators.

       56.     The “It’s On Us at Baylor” Twitter page includes tweets advocating that rapists

should be “castrated.”

       57.     The “It’s On Us at Baylor” Twitter page also includes tweets stating that "Rape is

caused by misogyny, not by women's clothing."

       58.     In 2016, Baylor officials in spiritual life, multicultural affairs, and the counseling

center collaborated to form Men for Change, an organization comprised of both Baylor staff

members and students that offers presentations, panel discussions and mentoring sessions on the

topics of active spirituality, healthy relationships, and masculinity.

       59.     Josh Ritter, Baylor’s Assistant Director of Spirituality and Public Life, has stated

that the purpose of Men for Change is to shed light on sexual assault and toxic masculinity. See

Phillip Ericksen, Baylor’s Men for Change confronts toxic masculinity, harmful stereotypes, Waco

Tribune (Jan. 28, 2019).

       60.     Ritter noted that Men for Change is “really interested in disrupting this power

dynamic that says that men are supposed to be powerful and dominant over women, which is not




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OK.” Id.

         61.   David Copeland, a Baylor staff member who works in the Department of Health,

Human Performance and Recreation, said that Men for Change is “pretty supportive of the message

that is being presented, with men being accountable to other men and calling men to be something

more, something better.” Id.

         62.   On November 13, 2017, Baylor’s Office of Diversity and Inclusion hosted a This

Matters Panel focused on #MeToo (the “#MeToo Panel”).

         63.   The #MeToo Panel was held in the Barfield Drawing Room, one of the larger and

most central venues on campus.

         64.   The purpose of the #MeToo Panel was to discuss how Baylor can reform the

perceived stigma and mentality surrounding sexual and interpersonal violence.

         65.   One of the #MeToo Panel members was Dr. Mito Diaz-Espinoza, program manager

for Baylor’s First in Line program.

         66.   During the event, Diaz-Espinoza stated, “One of the things to really push change is

to change the culture of men. It’s said that it’s better to raise healthy boys than to fix broken men.”

See Phoebe Suy, Panel says ‘interpersonal violence is everyone’s issue’, Baylor Lariat (Nov. 14,

2017).

         67.   He further noted, “[Men] should start understanding that the actual physical and

emotional violence that they’re perpetrating against others is what [they] need to face.” Id.

         68.   Baylor’s 2018 Annual Fire Safety and Security Report uses the term “victim” 95

times.

         69.   Baylor faculty members are required to take and pass short online courses, trainings

on sexual violence, harassment, and civil rights.




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         70.     These courses exclusively portray males as perpetrators and women as victims.

         71.     Moreover, on information and belief, in 2020 while Plaintiff’s investigation was

pending, Baylor sent a letter out informing others of the University’s Title IX policy of expelling

students with Title IX allegations against them, without considering the individual facts of the

case.

         72.     Baylor’s history and the statements of University officials demonstrates the anti-

male bias that is perpetuated throughout campus and infected the disciplinary proceedings against

Plaintiff.

         F.      The alleged incident

         73.     Plaintiff matriculated to Baylor in the Fall of 2020, with an expected graduation

date of Spring 2024.

         74.     On October 19, 2020, Plaintiff matched on the dating app Tinder with another first-

year Baylor student, Jane Roe.

         75.     Plaintiff and Roe messaged back and forth for five consecutive days until October

23, 2020.

         76.     Much of Plaintiff and Roe’s conversations consisted of discussing when they would

meet up and have sexual intercourse.

         77.     For example, Roe asked Plaintiff if Plaintiff would tell his roommates to leave when

she came over.

         78.     On October 23, 2020, Roe messaged Plaintiff on the app asking Plaintiff when he

was free and if he had a condom.

         79.     Plaintiff and Roe agreed to meet up later that night in front of the Judge Baylor

statue, and then go back to Plaintiff’s dorm room.




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        80.    While in Plaintiff’s dorm room, Plaintiff and Roe sat on Plaintiff’s bed talking for

about 30 minutes.

        81.    Plaintiff and Roe then began to mutually kiss each other for a few minutes.

        82.    Plaintiff asked Roe if she wanted Plaintiff to perform oral sex on her, and Roe said

yes.

        83.    Plaintiff proceeded to engage in oral sex with Roe for three to four minutes.

        84.    Roe then voluntarily gave Plaintiff oral sex for a few minutes.

        85.    Plaintiff asked Roe if she wanted to have sexual intercourse, and Roe affirmatively

said yes.

        86.    Plaintiff then retrieved a condom and he and Roe engaged in vaginal intercourse

for four to five minutes.

        87.    Roe did not at any point during the sexual acts say no or otherwise indicate that she

wanted to stop. Rather, Roe was an active and willing participant.

        88.    Afterwards, Roe got dressed, hugged Plaintiff goodbye, and left.

        89.    When Roe left Plaintiff’s apartment, she was in good spirits. Roe was not crying

and did not appear distressed.

        90.    Plaintiff and Roe did not speak after that night.

        G.     The aftermath of the incident

        91.    After Roe left Plaintiff’s apartment, she called her friend, S.T. and told her that she

had been sexually assaulted.

        92.    On information and belief, Roe claimed that she had been assaulted because she

had regretted the casual sexual encounter with Plaintiff.

        93.    On the afternoon of October 24, 2020, Roe went to Baylor Scott and White




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Hillcrest’s emergency room for a sexual assault exam (“SAFE exam”).

       94.       Roe claimed that her visit to the emergency room was due to an “unplanned sexual

encounter,” despite the fact that Roe’s messages to Plaintiff prior to the encounter clearly

demonstrated an intent to have sexual intercourse.

       95.       Moreover, Roe requested a SAFE exam, but stated that she did not want to contact

the police.

       96.       Roe claimed that Plaintiff had penetrated her mouth and vagina without consent

and choked her without consent.

       97.       The form that Roe filled out for the SAFE report, however, was inconsistent with

her account, as she noted on the form that she was “not sure” if she performed oral sex on Plaintiff.

       98.       Notably, the nurse noted that Roe had bite/suction marks on her neck, but did not

note any bruises from choking abrasions.

       99.       On October 25, 2020, Roe went to the University’s Police Department (“BUPD”)

and reported the alleged sexual acts.

       100.      Roe noted in her BUPD interview that she did not wish to pursue a disciplinary

investigation.

       101.      Plaintiff did not submit a formal complaint until nearly one year later, when she

submitted a signed complaint to the Equity Office requesting an investigation on July 13, 2021.

       102.      Baylor then issued a notice of investigation to Plaintiff via email on July 14, 2021,

that stated that Roe had alleged that Plaintiff sexually assaulted her by kissing Roe without consent,

penetrating Roe’s mouth without consent, penetrating Roe’s vagina without consent, and

penetrating Roe’s vagina with his fingers without consent.

       103.      The letter stated that Plaintiff was also under investigation for dating violence for




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strangling Roe.

         104.   Melissa Morie (“Morie”) was subsequently appointed as the Title IX Investigator

for the case.

         105.   Throughout the investigation, Roe was interviewed three times, on July 13, 2021,

August 19, 2021, and September 3, 2021.

         106.   Plaintiff, however, was only interviewed twice, on August 9, 2021 and August 26,

2021.

         107.   The investigator also interviewed S.T. and Plaintiff’s roommate, D.V, as witnesses.

         108.   Morie subsequently issued the Preliminary Investigation Report that contained the

witness statements.

         109.   In response, Roe submitted a statement from her psychologist, who stated that Roe

had gone to him on October 26, 2020 and claimed that she had been sexually assaulted over the

weekend.

         110.   Morie produced the Final Investigative Report on October 4, 2021.

         111.   The Final Investigative Report included, at Roe’s request, the statement from her

psychologist.

         112.   Plaintiff submitted a response to the Final Investigative Report in which he included

screenshots of Roe’s profile on the dating app Bumble, demonstrating that Roe was clearly not as

traumatized as she claimed from the experience as she had regularly been using dating apps

following the alleged incident.

         113.   Despite Plaintiff’s request, Plaintiff’s provided information was not included in the

Investigative Report and was not considered by the decision maker, unlike the information that

Roe provided in response to the Preliminary Investigative Report.




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        114.      The University held a hearing for the matter on October 18, 2021.

        115.      Roe attended the hearing with a University-appointed advisor, Christian Jeong.

        116.      However, Plaintiff had discussed the allegations with Jeong previously, and

accordingly, Jeong had a conflict of interest in serving as Roe’s advisor.

        117.      Indeed, Jeong knew privileged information about the matter that Plaintiff had

previously told her, which gave Roe a prejudicial advantage when Jeong cross-examined Plaintiff

at the hearing.

        118.      Moreover, during cross examination, the Hearing Officer, Peter Lim (“Lim”),

precluded Plaintiff’s advisor from asking Roe any questions concerning her continued use of

dating apps following the alleged incident, although the questions went directly to Roe’s credibility

regarding her trauma.

        119.      Notably, S.T., the very witness which Roe allegedly told about the incident

immediately following the encounter, did not attend the hearing because she did not wish to

participate.

        120.      Incredibly, on information and belief, Roe messaged Plaintiff’s high school

girlfriend during the hearing asking her if Plaintiff ever sexually assaulted her because she “needed

a stronger case.”

        121.      On November 1, 2021, Lim issued a decision, finding Plaintiff responsible for

sexual assault and sanctioned Plaintiff to expulsion.

        122.      Lim’s 17-page decision and analysis made every effort to minimize the

inconsistencies presented by Roe throughout the investigation and to highlight any missteps made

by Plaintiff.

        123.      For example, Lim stated that, among other things, he found Roe to be credible due




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to (1) Roe’s close-in-time disclosure to S.T. and (2) Roe’s demeanor when conversing with S.T.

        124.     However, the only person that could testify to Roe’s demeanor and disclosure

would have been S.T. herself, who declined to participate at the hearing.

        125.     Without being subject to cross-examination, there was no way for Lim to make a

proper credibility assessment of S.T. and thus S.T. had only made statements which were

transcribed in the Investigation Report.

        126.     Accordingly, Lim considered and gave weight to S.T.’s statements, despite the fact

that she was not subject to cross-examination, and in violation of Baylor policy.

        127.     Additionally, Lim also stated that he found Roe to be credible due to the fact that

she sought medical treatment and a SAFE exam the day after the alleged incident.

        128.     However, Lim explicitly acknowledged that the form filled out by Roe at the time

of the SAFE exam contradicted the allegations that she made against Plaintiff. Incredibly, Lim

stated that despite Roe’s own contradictory statements, he still deemed her credible.

        129.     Likewise, Lim declined to acknowledge that Roe made inconsistent statements to

the SAFE nurse, as she claimed that Plaintiff started choking her while kissing Plaintiff when she

spoke to the nurse but stated to the University that Plaintiff choked her only during intercourse,

after kissing.

        130.     Lim also stated that Roe’s allegations of strangling were consistent with Roe’s

medical examination, but in fact, the medical examination confirmed bite/suction marks, not

strangulation marks.

        131.     On the other hand, Lim spent about three pages explaining why Plaintiff merely not

stating that he performed oral sex on Roe at the first meeting made Plaintiff incredible.

        132.     However, Plaintiff explained that performing oral sex on Roe was not at issue




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regarding consensual acts, and that he left out the detail because he thought that the only issues

were regarding penetration and strangulation, as stated in the notice of allegations.

        133.    Despite the plethora of inconsistencies in Roe’s statements, Lim latched onto this

single collateral detail that Plaintiff had left out in the initial meeting, but then noted in a later

interview, as amounting to enough to find Plaintiff incredible.

        134.    Plaintiff timely appealed the decision and sanction on November 9, 2021.

        135.    Plaintiff’s appeal noted that there was a new letter from one of his other roommates

detailing the roommate’s interactions and dating with Roe through dating apps, as well as the

conflict of interest with Roe’s advisor given the fact that Plaintiff had discussed the issue with the

advisor previously.

        136.    On November 23, 2021, Sandra Lauro, the Appellate Officer, denied Plaintiff’s

appeal on all grounds.

        137.    Plaintiff has exhausted all available avenues for appeal under Baylor’s policies.

This lawsuit represents Plaintiff’s only hope to redress the wrongs occasioned by Defendant.

        H.      Roe Stalks Plaintiff’s Friends

        138.    Disturbingly, on information and belief, during the investigation and following the

Title IX outcome, Roe, despite her claims of being traumatized, has gone out of her way to stalk

Plaintiff’s current girlfriend and friends.

        139.    Indeed, Roe has followed both Plaintiff’s current girlfriend and ex-girlfriend on

social media.

        140.    Worse, Roe has appeared outside of Plaintiff’s current girlfriend’s apartment

numerous times.

        141.    On information and belief, Roe went as far as to damage Plaintiff’s current




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girlfriend’s car.

         142.   Roe has also directly asked Plaintiff’s ex-girlfriend and friends questions as to

Plaintiff’s whereabouts.

         143.   As a result of Roe’s stalking, Plaintiff’s current girlfriend filed a police report and

obtained a protective order against Roe on or around January 19, 2022.

         144.   Plaintiff’s current girlfriend also filed a Title IX report against Roe on or around

January 19, 2022.

         145.   Incredibly, the University almost immediately dismissed the Title IX stalking

complaint against Roe and declined to investigate the matter, leaving both Plaintiff and his

acquaintances in danger.

II.      AGREEMENTS, REPRESENTATIONS, COVENANTS & WARRANTIES
         BETWEEN PLAINTIFF AND DEFENDANT BAYLOR

         146.   Upon Plaintiff’s matriculation to Baylor, Plaintiff and Baylor became mutually

bound by Baylor’s Sexual and Interpersonal Misconduct Policy (the “Policy”), which is the

applicable policy for Baylor’s Title IX procedures.

         147.   On information and belief, the Policy is updated and/or revised each new school

year.

         148.   The Policy and/or the various provisions contained therein are available online

through the Baylor website.

         149.   In response to local and federal pressure for failing to protect female accusers or

take a strong stance against sexual assault against males, Baylor applied the Policy in a manner

that, on information and belief, resulted in harsher penalties for males accused of sexual




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misconduct as compared to females.3

        150.    The Policy contains and represents a contract between students and the University

and, in particular, between Plaintiff John Doe and Defendant Baylor.

        151.    Throughout the Title IX process in this case, Defendant breached its contractual

obligations and the implied covenant of good faith and fair dealing by failing to abide by the Policy

and the processes set forth therein, and by permitting gender bias to infect and taint the

proceedings, resulting in erroneous outcome.

        152.    The Policy states that “[d]eterminations regarding responsibility by hearing

officers… will be made by a preponderance of the evidence. A preponderance of the evidence

means that based on all relevant evidence and reasonable inferences from the evidence, the greater

weight of information indicates that it was more likely than not the alleged policy violation

occurred.”

        153.    The University breached the Policy by failing to properly apply the preponderance

of the evidence standard. Lim categorically ignored the numerous inconsistencies in Roe’s

statements which directly affected Roe’s credibility. Given Roe’s lack of evidence and credibility

concerns, there was no preponderance of the evidence to find Plaintiff responsible.

        154.    According to the Policy, “[i]n cases that will be investigated, the Title IX

Coordinator will appoint one or more investigators (referred to in this policy as “the investigator”)

to conduct a prompt, thorough, fair, and impartial investigation.”

        155.    The University breached this Policy because the Investigator failed to conduct a

thorough and fair investigation. Indeed, by way of example, and not limitation, Plaintiff was



3
  Baylor has not published statistics concerning the outcomes of sexual misconduct proceedings, including
the gender of respondents who were sanctioned as a result thereof. This is information that Plaintiff intends
to seek in discovery.


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precluded from introducing information regarding Roe’s activity on dating apps that would

directly impact Roe’s alleged trauma and her credibility.

        156.   The Policy states that “[t]he burden of proof and the burden of gathering evidence

sufficient to reach a determination regarding responsibility rest on the University and not on the

parties.”

        157.   The University breached the Policy by placing the burden on Plaintiff. Despite her

contradictory statements, Roe’s story was taken at face value, and Plaintiff was presumed

responsible unless he could disprove Roe’s allegations, given the complete lack of evidence

collected by the University to substantiate Roe’s allegations.

        158.   The Policy states that “[p]arties will have an equal opportunity to present witnesses,

including fact and expert witnesses, and other inculpatory and exculpatory evidence.”

        159.   The University breached the Policy because Roe and Plaintiff were not given the

same opportunity to present evidence to be included in the Investigation Report and considered by

the Hearing Officer. Indeed, when Roe requested that a letter from her psychiatrist be included,

the Investigator included the statement in the Investigative Report. However, when Plaintiff

requested that Roe’s recent activity on dating apps be included, the University declined to include

the information in the Investigative Report, despite its relevance to Roe’s alleged trauma.

        160.   According to the Policy, “[i]f a party or witness does not submit to cross-

examination at the live hearing, the hearing officer will not rely on any statement of that party or

witness in reaching a determination regarding responsibility.”

        161.   The University breached the Policy by relying on S.T.’s statements throughout the

investigation in rendering a decision and finding Roe credible, despite the fact that S.T. refused to

appear at the hearing and did not submit to cross-examination.




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III.    PLAINTIFF’S DAMAGES

        162.    As a direct and proximate result of Defendant’s biased, illegal, and improper

conduct, an erroneous finding that Plaintiff engaged in nonconsensual sexual contact has been

made a part of Plaintiff’s educational records and a notation has been made on his transcript. These

records may be released to educational institutions and employers to whom Plaintiff applies,

substantially limiting his ability to gain acceptance to another school or to secure future

employment. Roe’s allegations painted Plaintiff as a dangerous sex criminal, wiping out a lifetime

of hard work towards his college education and future career prospects.

        163.    By improperly expelling Plaintiff and placing a notation on his transcript, Baylor

has damaged Plaintiff’s future education and career prospects. Specifically, as a result of Baylor’s

actions, Plaintiff will be forced to disclose and explain to potential employers and any

undergraduate or graduate school to which he may opt to apply that he was disciplined by Baylor

for sexual misconduct.

        164.    Due to Defendant’s biased, illegal, and improper conduct, Plaintiff was subjected

to an unfair, biased, improper investigation and adjudication process which destroyed his

reputation and will permanently impact his future education and career prospects.

        165.    Due to Defendant’s biased, illegal, and improper conduct, Plaintiff was treated as a

perpetrator and presumed guilty from the start.

        166.    Due to Defendant’s biased, illegal, and improper conduct, Plaintiff has been falsely

labeled as a perpetrator of sexual assault.

        167.    Due to Defendant’s biased, illegal, and improper conduct, Plaintiff’s academic file

is now marred by a false and baseless finding of sexual assault, and the sanction is listed on

Plaintiff’s transcript.




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        168.    Due to Defendant’s biased, illegal, and improper conduct, Plaintiff has suffered and

will continue to suffer ridicule, reputational damage, economic losses, and damages to his future

educational and career prospects.

                          AS AND FOR A FIRST CAUSE OF ACTION
                    Violation of Title IX of the Education Amendments of 1972
                                         Erroneous Outcome

        169.    Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully

set forth herein.

        170.    Title IX of the Education Amendments of 1972 provides, in relevant part: “No

person in the United States shall, on the basis of sex, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance.” 20 U.S.C. § 1681(a).

        171.    Title IX of the Education Amendments of 1972 applies to all public and private

educational institutions that receive federal funding, including Defendant Baylor.

        172.    Baylor receives federal funding, including in the form of federal student loans given

to students and is subject to the provisions of Title IX.

        173.    Title IX is enforceable through a private right of action.

        174.    Both the Department of Education and the Department of Justice have promulgated

regulations under Title IX that require a school to “adopt and publish grievance procedures

providing for the prompt and equitable resolution of student…complaints alleging any action

which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (2018);

28 C.F.R. § 54.135(b) (2018).

        175.    Title IX may be violated by a school’s imposition of university discipline where

gender is a motivating factor in the decision to discipline.




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       176.    Baylor engaged in gender bias in its Title IX proceedings. Plaintiff was innocent

and wrongly found to have committed a violation of Baylor’s policies, and gender bias was a

motivating factor.

       177.    Baylor failed to conduct an adequate, reliable, and impartial investigation of Roe’s

complaint because, by way of example and not limitation:

               a.     Failing to provide Plaintiff and Roe equal opportunities to present
                      exculpatory information;

               b.     Refusing to include Plaintiff’s information regarding Roe’s use of dating
                      apps in the Investigative Report;

               c.     Failing to include a proper transcription of Plaintiff’s interview in the
                      Investigative Report;

               d.     Failing to ask Roe questions that would negatively impact her credibility,
                      including those concerning her alleged trauma following the event;

               e.     Considering S.T.’s statement in rendering a determination of responsibility,
                      despite the fact that S.T. did not appear at the hearing and was not subject
                      to cross-examination;


               f.     Allowing Roe to have a University advisor, who would cross-examine
                      Plaintiff, that Plaintiff had previously spoken to in confidence about the
                      events;

               g.     Taking Roe’s statements at face value, despite an utter lack of corroborating
                      evidence and numerous contradictory statements;

               h.     Failing to properly apply the preponderance of the evidence standard,
                      considering the lack of evidence concerning the allegations;


               i.     Defendant’s refusal to apply the particular facts of the case in considering
                      the appropriate sanction, including the fact that Plaintiff had remained on
                      campus throughout the investigation and thus posed no threat to campus

       178.    Particular circumstances suggest that gender bias was a motivating factor behind

the flawed proceedings, erroneous finding and the decision to impose an unduly harsh sanction

upon Plaintiff. These circumstances include, by way of example and not limitation:


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               a.      The pressure imposed by the 2014 OCR resolution, including the fear of
                       loss of federal funds as well as the fear of added financial liability such as
                       reimbursing tuition for aggrieved students if the University was not
                       compliant;

               b.      Internal pressure from the student body and/or media to aggressively pursue
                       complaints of sexual misconduct against males and to believe all women in
                       cases of sexual assault regardless of the evidence;

               c.      Defendant’s refusal to conduct any genuine investigation that could reveal
                       exculpatory evidence, for example, failing to consider evidence that
                       demonstrated that Roe was not as traumatized as she claimed;

               d.      Defendant’s failure to afford Plaintiff and Roe the same opportunity to
                       submit information;

               e.      Defendant’s distortion of the evidence and Plaintiff’s statements to fit Roe’s
                       narrative, rather than impartially evaluating the facts of the case; and

               f.      Painting Plaintiff, the male respondent, as less credible than Roe, the female
                       complainant.

       179.    On information and belief, Baylor’s mishandling of the complaint was informed by

institutional pressure, ongoing OCR investigations into noncompliant universities, and the threat

of recission of federal funds.

       180.    On information and belief, Baylor has engaged in a pattern of unfair investigations

and adjudications resulting in serious sanctions being imposed on male students, while not making

comparable efforts with respect to allegations of sexual violence and abusive conduct made against

non-male students.

       181.    Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and

explicitly unfair process in violation of Title IX.

       182.    This unlawful discrimination in violation of Title IX caused Plaintiff to sustain

substantial injury, damage, and loss, including but not limited to, loss of future educational and

career opportunities, reputational damages, economic injuries, and other direct and consequential




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damages.

        183.    As a result, Plaintiff is entitled to damages in an amount to be determined at trial,

plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as injunctive

relief directing Baylor to: (i) reverse the outcome and findings regarding Jane Roe’s complaint;

(ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of the original finding and

sanction from Plaintiff’s educational file(s); and (iv) issue an update/correction to any third parties

to whom Plaintiff’s disciplinary record may have been disclosed.

                         AS AND FOR A SECOND CAUSE OF ACTION
                    Violation of Title IX of the Education Amendments of 1972
                                        Selective Enforcement

        184.    Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully

set forth herein.

        185.    Title IX of the Education Amendments of 1972 provides, in relevant part, that: “No

person in the United States shall, on the basis of sex, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance.”

        186.    Title IX of the Education Amendments of 1972 applies to all public and private

educational institutions that receive federal funding, including Defendant Baylor.

        187.    Baylor receives federal funding, including in the form of federal student loans given

to students and is subject to the provisions of Title IX.

        188.    Title IX is enforceable through a private right of action.

        189.    Both the Department of Education and the Department of Justice have promulgated

regulations under Title IX that require a school to “adopt and publish grievance procedures

providing for the prompt and equitable resolution of student…complaints alleging any action




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which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (2018);

28 C.F.R. § 54.135(b) (2018).

       190.    To succeed on a selective enforcement claim, a plaintiff must demonstrate that

gender was a motivating factor in the decision to initiate a disciplinary action and/or the severity

of the punishment.

       191.    Selective enforcement occurred in this case because Plaintiff’s gender was a

motivating factor in Baylor’s decision to initiate proceedings against Plaintiff.

       192.    Baylor selectively enforced its Policy as between similarly situated male and non-

male students. By way of example and not limitation:

               a.      Plaintiff and Roe were similarly situated in that both students were accused
                       of conduct that could constitute a violation of the Policy. Namely, Plaintiff
                       was accused of Title IX sexual assault and Roe was accused of Title IX
                       stalking. However, Baylor prosecuted Plaintiff to the fullest extent, whereas
                       the stalking claims against Roe were ignored, discouraged, and dismissed;

               b.      The stalking claims against Roe specifically arose after and as a result of
                       Roe’s allegations against Plaintiff. Despite the related instances, the
                       University failed to investigate Roe, indicating a general pattern and
                       practice of not prosecuting claims against non-male students; and

               c.      Roe was presumed credible from the start and Plaintiff was presumed guilty
                       from the start.

       193.    Particular circumstances suggest that gender bias was a motivating factor behind

Baylor’s selective enforcement of the Policy. These circumstances include, by way of example

and not limitation:

               a.      The pressure imposed by the 2014 OCR resolution, including the fear of
                       loss of federal funds as well as the fear of added financial liability such as
                       reimbursing tuition for aggrieved students if the University was not
                       compliant;

               b.      Internal pressure from the student body and/or media to aggressively pursue
                       complaints of sexual misconduct against males and to believe all women in
                       cases of sexual assault regardless of the evidence;



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                 c.     Defendant’s refusal to conduct any genuine investigation that could reveal
                        exculpatory evidence, for example, failing to consider evidence that
                        demonstrated that Roe was not as traumatized as she claimed;

                 d.     Defendant’s failure to afford Plaintiff and Roe the same opportunity to
                        submit information;

                 e.     Defendant’s distortion of the evidence and Plaintiff’s statements to fit Roe’s
                        narrative, rather than impartially evaluating the facts of the case; and

                 f.     Painting Plaintiff, the male respondent, as less credible than Roe, the female
                        complainant.

       194.      On information and belief, Baylor has engaged in a pattern of unfair investigations

and adjudications resulting in serious sanctions being imposed on male students, while not making

comparable efforts with respect to sexual and/or dating violence/stalking made against female/non-

male students.

       195.      Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and

explicitly unfair process in violation of Title IX.

       196.      This unlawful discrimination in violation of Title IX caused Plaintiff to sustain

substantial injury, damage, and loss, including, but not limited to, loss of future educational and

career opportunities, reputational damages, economic injuries and other direct and consequential

damages.

       197.      As a result, Plaintiff is entitled to damages in an amount to be determined at trial,

plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as injunctive

relief directing Baylor to: (i) reverse the outcome and findings regarding Jane Roe’s complaint;

(ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of the original finding and

sanction from Plaintiff’s educational file(s); and (iv) issue an update/correction to any third parties

to whom Plaintiff’s disciplinary record may have been disclosed.




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                         AS AND FOR A THIRD CAUSE OF ACTION
                                   Breach of Contract

        198.    Plaintiff John Doe repeats and re-alleges each and every allegation above as if fully

set forth herein.

        199.    At all times relevant hereto, a contractual relationship existed between Plaintiff and

Baylor through Baylor’s dissemination of the policies and procedures governing the student

disciplinary system, including but not limited to the Policy, and Plaintiff’s tuition payments and

other consideration, such as compliance with the University’s relevant policies.

        200.    Baylor committed numerous breaches of its agreements with Plaintiff during the

investigation and adjudication of Jane Roe’s allegations against him, including but not limited to:

                a.     Failing to properly apply the preponderance of the evidence standard;

                b.     Failing to conduct a fair and impartial investigation;

                c.     Placing the burden of proof on Plaintiff;

                d.     Failing to give Plaintiff and Roe the same opportunity to present
                       information for the Investigative Report; and

                e.     Considering S.T.’s statements even though she did not appear at the hearing
                       and was not subject to cross-examination.

        201.    Further, included in these contractual agreements is the covenant of good faith and

fair dealing implied in all contracts.

        202.    Baylor breached the covenant of good faith and fair dealing implied in the Policy.

Examples of such breach include, but are not limited to:

                a.     Claiming that Plaintiff’s information concerning Roe’s use of dating apps
                       was irrelevant despite the fact that it went directly to Roe’s credibility;

                b.     Allowing Roe’s campus advisor to be one that Plaintiff had previously
                       spoken to in confidence;

                c.     Refusing to allow Plaintiff to question Roe about her dating activity after



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                        the alleged incident at the hearing;

              d.        Finding Plaintiff not credible because of one forgotten detail, while finding
                        Roe credible notwithstanding her numerous inconsistent statements; and

              e.        Implementing an unduly harsh sanction given the facts of the case and
                        failing to consider that Plaintiff did not pose a threat to campus as he had
                        remained a student throughout the investigation and adjudication of the
                        complaint.

       203.   As a proximate and foreseeable consequence of the foregoing, Plaintiff sustained

damages, including, but not limited to, emotional distress, psychological damages, loss of

education, loss of future educational and career opportunities, reputational damages, economic

injuries and other direct and consequential damages.

       204.   Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                     PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against

Defendant as follows:

       (i)    On the first cause of action for Violation of Title IX of the Education Amendments
              of 1972 Erroneous Outcome, a judgment against Baylor awarding Plaintiff
              damages in an amount to be determined at trial, plus prejudgment interest,
              attorneys’ fees, expenses, costs and disbursements, as well as injunctive relief
              directing Baylor to: (i) reverse the outcome and findings regarding Jane Roe’s
              complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of
              the original Finding and Sanction from Plaintiff’s educational file(s); and (iv) issue
              an update/correction to any third parties to whom Plaintiff’s disciplinary record
              may have been disclosed;

       (ii)   On the second cause of action for Violation of Title IX of the Education
              Amendments of 1972 Selective Enforcement, a judgment against Baylor awarding
              Plaintiff damages in an amount to be determined at trial, plus prejudgment interest,
              attorneys’ fees, expenses, costs and disbursements, as well as injunctive relief
              directing Baylor to: (i) reverse the outcome and findings regarding Jane Roe’s
              complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of
              the original Finding and Sanction from Plaintiff’s educational file(s); and (iv) issue



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             an update/correction to any third parties to whom Plaintiff’s disciplinary record
             may have been disclosed;

     (iii)   On the third cause of action for Breach of Contract, a judgment against Baylor
             awarding Plaintiff damages in an amount to be determined at trial, plus punitive
             damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

     (iv)    Equitable relief in the form of an order directing Defendant to: (i) reverse the
             outcome and findings regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s
             disciplinary record; (iii) remove any record of the original Finding and Sanction
             from Plaintiff’s educational file(s); and (iv) issue an update/correction to any third
             parties to whom Plaintiff’s disciplinary record may have been disclosed; and

     (v)     Such other and further relief as the Court deems just and proper.

                                       JURY DEMAND

     Plaintiff demands a trial by jury of all issues so triable.

Dated: New York, New York
       November 4, 2022

                                             Respectfully submitted,

                                             Nesenoff & Miltenberg, LLP
                                             Attorneys for Plaintiff John Doe

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